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EXHIBIT 0

Case 1:09-Cv-00597-LI\/|B-TCB Document 41-16 Filed 10/23/09 Page 2 of 2 Page|D# 749

Roth, Me|issa R.

From: Dickinson, |V|iche¥|e J_

Sent: Wednesday, October 14, 2009 8:32 PM
To: 'isabe|@hhy|aw.corn'

Cc: Roth, Me|issa R.; Cramer, Vanessa
Subject: Re; NE| laptop

Isabel,

Our computer consultants have determined that there is no NEI data on the laptop that Joe
returned to NEI a year ago. Accordingly, we are prepared to make arrangements for the
exchange of the laptops and imaging of the tower. Please advise as to when Joe can get the
tower out of storage for imaging so that we can set this up,

Michelle J. Dickinson

DLA Piper LLP (US)

6225 Smith Avenue

Baltimore, Maryland 21209-3600
(410} 580-4137 Direct Phone
(410} 580-3137 Direct Fax
michelle.dickinson@dlapiper.com

ATTORNEY WORK PRODUCT

----- Original Message -----

From: Isabel M Humphrey <isabel@hhylaw.com>
To: Dickinson, Michelle J.

Sent: Wed OCt 14 14:49:12 2009

SubjeCt: RE: NEI laptOp

Michelle, we are not comfortable continuing to hold onto NEI's laptop. I repeatedly tried
to get instructions from you to return it, and you would not give me the name of someone
at NEI authorized to accept it. You said you would send a computer consultant last week
to pick it up, but we have heard nothing. We just sent a staff member downstairs to NEI's
office to return it, and they refused to accept it. If you don't make other arrangements
by the end of today, we will put the laptop in a FedEx box and ship it to you.

In the meantime, Joe has contacted police regarding NEI's continued refusal to return his
laptop.

Isabel M. Humphrey, Esq.
HUNTER, HUMPHREY & YAVITZ, PLC
2633 E Indian School Rd, #440
Phoenix, Arizona 85016

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